Case 1:05-cv-01166-.]DT-STA Document 12 Filed 08/29/05

UNITED STATES DIsTRICT CoURT

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OFFlCE oF THE CLERK

Page 1 of 4 Page|D 8

LoRRETTA G. WHYTE

500 PoYDRAs ST., SUITE C-151
CLERK NEW ORLEANS, LA 70130
August 25, 2005
Robert Di Trolio, Clerk
United States District Court
Western District of Tennessee
111 s. Highland ;> E?n jj
Jacl<son, TN 38301 § §T‘\
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In Re: MDL 1657 Vioxx Products Liability Litigation L (3) § :_.:`;
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cl !v~
Dear Mr. Di Trolio: 2 3

 

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the cases listed on the attached page be transferred to our district

for disposition pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet

and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor
court.

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ue to the hi h volume of cases involved in this liti ation lease rovide
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er co ies of the above documents instead of sim I referrin to our Website.
Your prompt attention in this matter is greatly appreciated

 

Shou]d you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,

Loretta G. \:ZY§@/
By

Deputy Clerk
Enclosures

cc: Judicial Panel on Multidistrict Litigation

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Case 1:05-cv-01166-.]DT-STA Document 12 Filed 08/29/05 Page 2 of 4 Page|D 9

Your Case Nos. Case Title

Qur_CaSe_NL

l:05-1159 Jerry Foster, et al v. Merck & Co., lnc. 05-3900 L (3)

1;05_ m (`harmain A Wrighf;£fa erck & Co. lnc. 05-39
l:O$-l 166 Denny E. West v. Merck & Co., Inc., et al 05-3902 L (3)

 

 

 

   

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BEFORE THE JUDICIAL PANEL ONMULTIDISTRICTLITIGATION

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DOCKETNO. 1657

  

 

 

INRE VIOXXPRODUCTS LIABILITYLITIGA TION
(SEE ATTA CHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-ZO)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court
for the Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant
to 28 U.S.C. § 1407. Since that time, 832 additional actions have been transferred to the Eastern
District of Louisiana. With the consent of that court, all such actions have been assigned to the
Honorable Eldon E. Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are
common to the actions previously transferred to the Eastern District of Louisiana and assigned to
lodge Fallon.

Pursuant to Rule 7.4 ofthe Rules of Procedure ofthe Judicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the
Eastem District of Louisiana for the reasons stated in the order of ‘ February 16, 2005, 360
F.Supp.?_d 1352 (J.P.M.L. 2005), and, vvith the consent ofthat court, assigned to the Honorable
Eldon E. Fallon.

This order does not become effective until it is filed in the Office ofthe Clerk ofthe United
States District Court for the Eastern District of Louisiana. The transmittal ofthis order to said
Clerk shall be stayed fifteen (15) days from the entry thereof and if any party files a notice of
opposition with the Clerk ofthe Panel within this fifteen (1_5) day period, thestay Will bte{§§>
continued until further order ofthe Panel. ""

   

 

FOR THE PANEL:

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DISTRICT OURT -WESTER D'I'ISRCTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 12 in
case 1:05-CV-01166 Was distributed by f`aX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Jacl<son, TN 38303--353

Honorable .l ames Todd
US DISTRICT COURT

